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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


A. MATHEW, J. AFFHOLTER,

           Plaintiffs,

     v.                                   Case No. 23-cv-12302-FDS
CITIGROUP GLOBAL MARKETS, CITADEL
SECURITIES LLC, FTX, ALAMEDA CAPITAL,
ANTARA CAPITAL, NEW YORK STOCK
EXCHANGE, SUSQUEHANNA
INTERNATIONAL GROUP, MUDRICK
CAPITAL, VIRTU FINANCIAL, FOX
BUSINESS, NASDAQ, GOLDMAN SACHS
GROUP, UNKNOWN DEFENDANTS,

           Defendants,

AMC ENTERTAINMENT, HYCROFT MINING
HOLDING CORPORATION, DTCC, FINRA,

           Nominal Defendants.



      SPECIALLY APPEARING DEFENDANT VIRTU FINANCIAL, INC.’S
     MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO DISMISS
           THE FIRST AMENDED CIVIL ACTION COMPLAINT



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                  Specially appearing defendant Virtu Financial, Inc. (“Virtu”) respectfully submits

this memorandum of law in support of its motion to dismiss the First Amended Civil Action

Complaint (ECF Doc. No. 20 (the “complaint” or “Compl.”)) pursuant to Rules 8, 9(b), and

12(b)(6) of the Federal Rules of Civil Procedure and the Private Securities Litigation Reform Act

of 1995, 15 U.S.C. § 78u-4 (the “PSLRA”) (the “Motion”). For the reasons set forth below, the

Court should grant the Motion and dismiss the complaint against Virtu entirely and with

prejudice.1

                                             Preliminary Statement

                  At 516 paragraphs sprawled across 211 pages – plus 221 pages across 37 exhibits

– pro se Plaintiffs’ complaint is a cri de coeur, a screed, a manifesto, a call to action. But it is not

a viable legal pleading against any of the 12 named defendants and four nominal defendants

(collectively, “Defendants”), least of all Virtu. Therefore, the Court should dismiss it.

                  Plaintiffs, alleged common stock shareholders of nominal defendant AMC

Entertainment Holdings, Inc. (“AMC”), principally complain that various financial industry

participants, including Defendants, colluded to manipulate the market for AMC securities over

seven years, thereby causing Plaintiffs a “loss of investment value.” Plaintiffs claim that the

alleged conduct violates not only the antifraud and anti-market manipulation provisions of the

Securities Exchange Act of 1934 (the “1934 Act”), but also the Securities Act of 1933 (the “1933

Act”), the Sherman and Clayton antitrust laws, the Racketeering Influence and Corrupt

Organizations Act (“RICO”), at least two criminal statutes, five FINRA rules, and various other

laws and regulations. Plaintiffs also assert that Defendants breached fiduciary duties allegedly

owed to Plaintiffs.


         1
           Unless stated otherwise, “¶” refers to a paragraph in the complaint; all emphasis is added; and all internal
citations and quotations marks are omitted.


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               The complaint’s irremediable problems are many. To have standing to bring their

1934 Act claims, Plaintiffs must allege that they bought or sold AMC securities. But they do not

do that. That failure is a sufficient ground to dismiss the 1934 Act claims. (See Argument Point

I.A.) Even if standing were not a bar, the complaint fails to plead facts that establish the element

of loss causation – that is, a causal connection between the alleged loss and the alleged

misconduct. Specifically, the complaint lacks any allegation that Plaintiffs bought or sold AMC

securities, or when, or the price at which they supposedly traded, never mind any allegation

connecting their unalleged trades to Virtu’s alleged misconduct. (See id. Point I.B.) Beyond

that, the complaint lacks any fact allegation showing that Virtu misrepresented anything or

engaged in market manipulation, let alone that Virtu acted with deceitful intent (scienter).

Instead, Plaintiffs regurgitate a list of acts that they admit are lawful and can serve legitimate

business purposes, but conclude without supporting facts that Virtu (or “Defendants”) engaged in

those acts to intentionally manipulate AMC securities prices. That is wholly insufficient as a

matter of law to state a claim under the 1934 Act. (See id. Point I.C & D.)

               The complaint’s other claims fare no better. The claims based on the alleged sale

of unregistered securities fail as a matter of law because Plaintiffs do not allege that they bought

such securities or that Virtu was their statutory seller. (See id. Point II.) The fiduciary duty

claims against Virtu fail as a matter of law because Plaintiffs do not allege a special relationship

of trust and confidence with Virtu. Nor could they. Virtu is a market maker, as Plaintiffs admit.

Its “customers” are institutional investors and retail brokerage firms. Virtu does not directly

serve retail investors like Plaintiffs, and Plaintiffs do not allege that they were Virtu customers.

(See id. Point III.) The antitrust claims are precluded under Supreme Court precedent because

they are in tension with the securities laws, which control this dispute. In any event, as pleaded,




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the antitrust claims fail as a matter of law. The RICO claims are barred by the PSLRA, which

precludes RICO claims for conduct that could give rise to federal securities law claims. In any

event, as pleaded, the RICO claims also fail as a matter of law. Finally, no private right of action

exists for the alleged violations of Title 18, which is the federal criminal code, or for FINRA

rules. (See id. Point IV).

               For all those reasons, the reasons set forth below, and the reasons set forth in the

motions to dismiss filed by the other Defendants (to the extent not in conflict with Virtu’s), the

Court should dismiss the complaint against Virtu entirely and with prejudice.

                                  Allegations in the Complaint

               Plaintiff A.P. Mathew alleges that he is “domiciled” in Massachusetts and “has

been a verified shareholder of AMC since spring 2021.” ¶ 27. Plaintiff J. Affholter alleges that

he “resides” in Michigan and “has been a verified AMC Shareholder since February 2021.” ¶ 28.

What Plaintiffs mean by “shareholder” is unclear, but they apparently hold (or held) “significant

investments in AMC’s common stock” at some point in the last three years. ¶ 454. They seek

“compensatory damages in an amount to be proven at trial, including loss of investment value

and any other economic harm suffered” in the amount of $765,630 (Mathew) and $34,000

(Affholter). Compl., Prayer for Relief ¶ 2. The basis for damages is unclear given that neither

alleges that he bought or sold AMC securities or when he traded AMC securities.

               Plaintiffs seek damages from Defendants for alleged misconduct that, Plaintiffs

claim, artificially depressed the price of AMC common stock. See, e.g., ¶¶ 1, 12, 51, 82-83, 86,

99, 102, 279, 357, 465-466, 478, 500. The alleged misconduct includes misrepresentations or

omissions of material fact and certain acts that Plaintiffs characterize as market manipulation.

¶ 247. Defendants allegedly engaged in that misconduct to avoid losing money on their




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supposed short positions in AMC securities. See, e.g., ¶¶ 56, 73-75, 81, 114, 147-149, 337, 344,

361, 364. That narrative appears to be rooted in the 2021 meme stock craze, when retail

investors piled into AMC common stock to bid up its price, in turn squeezing AMC short sellers.

See ¶ 73. Although the craze occurred three years ago, Plaintiffs allege that “defendants …

overtly engag[ed] in a deliberate and sophisticated conspiracy to monopolize the trade of AMC

stock” over a seven-year period – “the Relevant Period of January 2016-2023.” ¶ 1.

               Virtu is alleged to be a “Market Maker” (¶ 22; see also ¶¶ 38, 284), and a “hedge

fund” or “AMC short hedge fund.” ¶¶ 439, 437; see also ¶ 344. In fact, Virtu is a market maker,

not a hedge fund. Plaintiffs plead no fact to support their assertion that Virtu is a hedge fund, let

alone that Virtu shorted AMC securities. Plaintiffs allege that Virtu misrepresented or omitted

material facts (see ¶¶ 247, 295, 342) and engaged in manipulative acts. See generally ¶¶ 247-

248; Exs. AF, AH (ECF Doc. Nos. 20-32 & 34). But Plaintiffs fail to allege what Virtu

supposedly said or omitted, when, or how it was misleading; and they admit that many of the

allegedly manipulative acts are not illegal or manipulative, and that many of their charges are

speculative. The allegedly wrongful acts include:

               Naked Short Selling, Failures to Deliver. Plaintiffs allege that naked short selling

is “where the seller does not arrange to borrow the securities [it is selling short].” ¶ 290. They

allege that the practice “could” lead to a Failure to Deliver (¶ 284; accord ¶ 298), meaning the

short-seller does not deliver the shorted securities by the settlement date (three days following

the trade date). See ¶¶ 283, 290. They also allege that Failures to Deliver (“FTDs”) “can

contribute to market instability and potential manipulation of stock price” (¶ 298) and “could

potentially have inflicted substantial financial damage upon the plaintiffs.” ¶ 302. From that,

and without supporting facts, Plaintiffs conclude that Virtu “manipulated the market … to cause




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an increase in FTDs” (¶ 290; accord ¶¶ 294, 305), caused FTDs by engaging in naked short

selling (see ¶¶ 12, 290, 294, 300-301, 303, 305), “misrepresented [its] ability or intent to deliver

the necessary securities by the settlement date” (¶ 295; see also ¶ 304 (alleged supply and

demand misrepresentations)), and “utiliz[ed] complex trading strategies involving options and

dark pool trades to hide” FTDs. ¶ 285. Plaintiffs do not allege facts showing that Virtu actually

engaged in naked short selling or other complex trading strategies, the volume, price, or date of

those unidentified trades, the number of FTDs that supposedly resulted, or that Plaintiffs traded

at prices impacted by the alleged misconduct. As for the complex trading strategies, Plaintiffs

admit they are “controversial” but “not illegal per se” (¶ 285) and that Virtu’s trading strategies

“operat[e] within the bounds of the law.” ¶ 289.

               Spoofing. Plaintiffs allege that Virtu engaged in spoofing, or “placing orders with

the intention of canceling them before they can be executed, creating a false impression of

market sentiment.” ¶ 275; see also ¶¶ 252, 460. Virtu allegedly did this as “part of a deceptive

strategy to manipulate the market price of AMC stock.” ¶ 498; see also ¶¶ 411, 492. From

January 2020 to April 2023, “Defendants,” not Virtu specifically, allegedly “cancelled orders

totaling 3,955,620,000 shares.” ¶ 498. Although Plaintiffs allege that “[t]he scale and pattern of

cancellations suggest a strategic effort to create false or misleading appearances of market

activity for AMC shares” ( ¶ 499), they acknowledge that this activity also could be consistent

with “a legitimate and legal high-frequency trading strategy” or the “unintended consequences

of” “automated trading algorithms.” ¶¶ 260-261. They also acknowledge that “[o]rder

cancellation itself is not illegal,” and that “[m]arket makers,” like Virtu, “cancel orders for

various legitimate reasons.” ¶ 410. Although they allege that “videographic evidence ” (¶ 263

& Ex. V (ECF Doc. No. 20-22)), “detailed trading data” (¶ 265), and “technical analysis” (¶ 261)




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support their claims, they present none of that material in the 432 pages of allegations and

exhibits they filed. Nor do they plead any fact showing that Virtu placed any AMC securities

orders, let alone orders it did not intend to execute, or that Plaintiffs traded at prices impacted by

the alleged misconduct.

               Dark pool trading. Plaintiffs allege that dark pools are “private exchanges for

trading securities” that “are not accessible by the investing public.” ¶ 372. They allege that

Virtu misrepresented or omitted material information about its dark pool trading (see ¶¶ 372,

383, 388); “intentionally manipulated the price of AMC stock through dark pools” (¶ 373; accord

¶ 496); and “use[d] dark pools to negate fair supply and demand of AMC stock on the

exchanges.” ¶ 405; see also ¶¶ 248, 510. Plaintiffs allegedly made trading decisions based on

“distorted conditions” supposedly caused by dark pool trading, “which then resulted in real and

quantifiable financial harm (see exhibit AI).” ¶ 454; accord ¶ 456. But Plaintiffs plead no fact

showing that they actually traded AMC securities during the Relevant Period, let alone that they

traded when prices supposedly were distorted due to Virtu’s alleged dark pool trading; and

Exhibit AI says nothing about Plaintiffs’ AMC trading. Plaintiffs also plead no fact showing that

Virtu traded AMC securities on any dark pool, let alone traded improperly, and they walk back

their assertion that Virtu acted with wrongful intent.

¶ 389 (“Evidence of intentional manipulation of price through dark pools … could demonstrate

wrongful intent or knowledge of wrongdoing on the part of … Virtu.”).

               Limit Up Limit Down (“LULD”) Rule. Plaintiffs allege that the LULD rule “is

designed to prevent trades in individual securities from occurring outside of specified price

bands.” ¶ 361. The LULD Committee is “tasked with … setting [the] price bands.” ¶ 334;

accord ¶ 351. Virtu allegedly is “represented on the committee” and “coordinat[ed]” with the




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committee “to manipulate” and artificially “suppress” AMC securities prices to “benefit” its

alleged “short positions.” ¶¶ 333, 338, 344, 351; see also ¶¶ 248, 357, 465-466. The alleged

manipulation included “submitting false or misleading reports to the LULD Committee to

influence the price bands of AMC” securities (¶ 342) and “wielding undue influence” over the

LULD Committee. ¶ 353; accord ¶ 351. Additionally, “market participants” (¶361) and “short

hedge funds” (¶ 364), not Virtu specifically, allegedly paid the NYSE “to call a LULD halt” in

AMC securities (¶ 361; accord ¶ 359 at ¶ 3) or “accepted payments … to call volatility halts.”

¶ 504. Again, however, Plaintiffs plead no specifics to support their accusations. They do not

identify any report that Virtu allegedly made to the LULD Committee, when it supposedly was

made, or any fact showing that it report was misleading. They do not identify what influence

Virtu supposedly had over the LULD Committee, when or how it wielded that influence, or why

the influence was undue, let alone unlawful. They do not even try to connect Virtu to any

payment to halt AMC securities trading,2 perhaps because their claim is speculative, as even they

admit. See ¶¶ 358 (alleging that the LULD allegations present a “picture of potential

misconduct.”); 359 at ¶ 4 (“[t]rading data,” which Plaintiffs do not identify, “suggests possible

undue influence”).

                  Short-and-distort campaign. Plaintiffs allege that Virtu, among others, engaged in

a “monetary exchange” with Fox Business News and others to run stories to depress AMC

common stock prices. ¶ 439; see also ¶¶ 248, 437-446, Ex. AF (ECF Doc. No. 20-32) at 10




         2
           Plaintiffs allege that Exhibit A contains “indications of a potential ‘quid pro quo’ relationship leading to
these halts.” ¶ 359 at ¶ 3. Exhibit A are excerpts from AMC credit agreements that AMC attached to its Form 10-K.
See Ex. A (ECF Doc. No. 20-1). Plaintiffs allege that Exhibit S contains an admission by a hedge fund manager that
he paid “brokerage in order to call halts against retail shareholders.” ¶¶ 347, 360. Exhibit S is a screen-shot of an
undated tweet that references no securities, let alone AMC securities. See Ex. S (ECF Doc. No. 20-19). Exhibit AG
purports to be a diagram of alleged LULD Committee and dark pool misconduct. See ECF Doc. No. 20-33, at 4.
Virtu’s name appears nowhere on Exhibits A, S, or AG.


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(“Citadel and Virtu conspired with Fox Business to destroy AMC Stock interest by deliberating

[sic] producing misinformation, bashing, and other forms of stock manipulation.”). The apparent

basis for th0se allegations is a 25-page collage of tweet screen-shots and graphics of undisclosed

provenance, set forth in Exhibit Z. See ECF Doc. No. 20-26. But Exhibit Z is devoid of

anything showing that Virtu was involved in the alleged campaign, and Plaintiffs fail to identify

any news report that Virtu supposedly procured, perhaps because Plaintiffs themselves admit that

their short-and-distort claim is “speculation.” ¶ 446.

                  The alleged misconduct supposedly violated federal securities laws and

regulations, federal antitrust laws, the federal criminal code, and FINRA rules. Those purported

violations, and breach of fiduciary duty claims, are enumerated in the complaint’s 11 counts.

                                                    Argument

I.       The 1934 Act Claims Fail as a Matter of Law3

                  To state a misrepresentation claim under Section 10(b) and Rule 10b-5, a plaintiff

must plead that a defendant made a misstatement of material fact, with scienter (deceitful intent),

that caused the plaintiff to buy or sell a security, and that caused economic loss when the

misstatement’s falsity was revealed. See Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 341

(2005). To state a market manipulation claim under Section 10(b) and Rule 10b-5, a plaintiff must

plead that a defendant committed a manipulative act, with scienter, that caused the plaintiff to incur

damages because it bought or sold a security in “reliance on an assumption of an efficient market




         3
            The Court is familiar with the applicable pleading standards. To conserve resources, Virtu incorporates by
reference the Legal Standard set forth in the memorandum of law submitted in support of Defendant Citadel’s
motion to dismiss (the “Citadel Brief”). As shown below and in Points I and II of the Citadel Brief, the complaint
fails to state a plausible claim against Virtu and falls far short of even Rule 8’s standard, let alone the heightened
pleading standards of Rule 9(b) and the PSLRA.


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free of manipulation.” ATSI Commc’s, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 101 (2d Cir. 2007)

(dismissing claims).

                  To state a claim for market manipulation under Section 9(a)(2),4 a plaintiff must

plead that the defendant, acting with scienter engaged in “a series of transactions in a security

creating actual or apparent trading in that security or raising or depressing the price of that security

… for the purpose of inducing the security’s sale or purchase by others.” Xu v. Direxion Shares

ETF Trust, No. 22-cv-5090, 2023 WL 5509151, at *6 (S.D.N.Y. Aug. 25, 2023) (dismissing

claims). The violation must be “willful” and “the price of the security that is purchased or sold”

must “be affected by the violation.” Id.

                  Plaintiffs fail to plead, or plead sufficiently, elements of their 1934 Act claims.5

         A.       Plaintiffs Lack Standing to Bring 1934 Act Claims

                  To plead a 1934 Act claim, a plaintiff must allege that it bought or sold securities.

See Blue Chip Stamps v. Manor Drug Stores, 421 U.S. 723, 749 (1975) (holding that standing to

pursue Rule 10b-5 claims is limited to actual purchasers and sellers). A plaintiff that fails to

allege a purchase or sale lacks standing to pursue 1934 Act claims. See Trivedi v. G.E. Co., No.

19-cv-11862, 2020 WL 9744754, at *6 (D. Mass. Aug. 13, 2020) (Rep. & Rec.) (dismissing

Section 10(b) claim because plaintiff did “not allege … that she was either a purchaser or a seller

of GE securities.”), adopted, 2021 WL 2229088, at *1 (D. Mass. May 27, 2021), aff’d, 2022 WL

1769136, at *1 (1st Cir. May 3, 2022); Scottrade, Inc. v. BroCo Investments, Inc., 774 F. Supp.

2d 573, 582 (S.D.N.Y. 2011) (dismissing Section 9(a) and 10(b) claims). Here, the complaint



         4
            Section 9(a)(2) proscribes manipulative conduct. Section 9(f), which Plaintiffs never mention, provides a
private remedy for a Section 9(a)(2) violation. See 15 U.S.C. § 78i(f).
          5
            The alleged misconduct supposedly occurred from January 2016 through 2023. (See page 4, above.) The
statute of repose bars any 1934 Act claim against Virtu that accrued on or before November 16, 2018, that is, five
years before Plaintiffs filed the complaint on November 16, 2023. See 28 U.S.C. § 1658(b)(2).


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contains no allegation that Plaintiffs bought or sold AMC securities. At most, Plaintiffs allege

that they were AMC shareholders since February 2021 (Affholter) and the spring of 2021

(Mathews), as supposedly verified by the Delaware Chancery court in the Derivative Action.

(See page 3, above.) But status as AMC shareholders for derivative suit purposes, without more,

does not establish standing to bring 1934 Act claims, and Plaintiffs do not plead more. Plaintiffs

lack standing to bring their 1934 Act claims.

       B.      Plaintiffs Fail to Plead Loss Causation

               To plead a 1934 Act claim, a plaintiff must allege a “causal connection” between

the alleged fraud and their alleged losses. See Dura Pharms., 544 U.S. at 347; Cohen v.

Stevanovich, 722 F. Supp. 2d 416, 430-433 (S.D.N.Y. 2010) (dismissing Section 9(a)(2) and

10(b) claims). Plaintiffs fatally fail to plead that causal connection. They do not allege that they

bought or sold AMC securities, let alone detail the date or price of any of their unidentified AMC

securities trades, information plainly in their possession. Cohen is directly on point. The court

dismissed market manipulation claims because the plaintiffs did not plead loss causation. See id.

at 433. They alleged that the defendants had manipulated the price of a company’s shares. But

they never alleged that they sold their shares. See id. at 431. The court held that even assuming

“some Plaintiffs sold some or all of their shares,” they failed to allege, as “required,” “the

amount of stock they purportedly sold, the dates on which the stock was sold, or the price

initially paid and then received for any stock;” and they failed to allege that any loss “was caused

by any [defendants’] supposed misconduct.” Id. Rather, they “rest[ed] on conclusory allegations

that they … were … constrained to sell their shares at a loss.” Id. Plaintiffs here stand in the

same shoes as the plaintiffs in Cohen; or worse, because they do not even allege that they sold at




                                                 10
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a loss. A fortiori, they too have failed to “allege … a requisite element of their federal claims.”

Id. at 433.6

         C.       Plaintiffs Fail to Plead that Virtu Engaged in Any Misconduct

                  1.       Misrepresentation and Omission Claims

                  To plead a misrepresentation claim under Section 10(b) and Rule 10b-5, a plaintiff

must satisfy the PSLRA requirement that it “specify each statement alleged to have been

misleading, [and] the reason or reasons why the statement is misleading.” 15 U.S.C. § 78u-

4(b)(1); accord Ponsa-Rabell v. Santander Sec. LLC, 35 F.4th 26, 33 (1st Cir. 2011) (affirming

dismissal). Because the claim sounds in fraud, a plaintiff also “must plead the circumstances of the

fraud with particularity pursuant to Rule 9(b), meaning it must allege the ‘time, place, and content

of the alleged misrepresentations.’” Id. at 33-34. Courts dismiss complaints that do not satisfy

those standards. See, e.g., Ok. Firefighters Pension & Ret. Sys. v. Biogen Inc., --- F. Supp. 3d ---,

No. 22-cv-10200, 2023 WL 2693793, at *8 (D. Mass. Mar. 29, 2023) (holding that the complaint

did not specify why the alleged misstatements were false); Cohen, 722 F. Supp. 2d at 427

(“Plaintiffs have failed to identify any misleading statements or omissions made by or attributed

to any [defendant].”). Here, the complaint does not satisfy the pleading standards. Plaintiffs

allege that Virtu “submit[ted] false or misleading reports to the LULD Committee” (¶ 342;

accord ¶ 346) and made “false representations about market supply and demand.” ¶ 304. But




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            Plaintiffs’ loss causation allegations also are inconsistent, which is an independent basis to dismiss. See
Kelley v. Rambus, Inc., No. 07-cv-1238, 2008 WL 5170598, at *17 (N.D. Cal. Dec. 9, 2008) (dismissing Section 14
and 18 claims). Plaintiffs’ core contention is that Defendants tried to suppress the price of AMC securities to avoid
a short squeeze. (See pages 3-4, above). Yet Plaintiffs allege that Defendants’ conduct resulted in price inflation
and price stability, in addition to price deflation. See ¶¶ 477 (alleging that Defendants’ alleged misconduct “caused
Plaintiffs to purchase AMC securities at artificially inflated prices”), 504 (same), 493 (alleging that “Defendants”
engaged in deceit “to maintain artificially inflated and deflated market prices”), 505 (same), 497 (“Defendant’s [sic]
actions caused artificial price stability or suppression, which misled investors.”). Plaintiffs make no effort to square
the inconsistencies and leave the Court with no basis to divine their loss causation theory.


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Plaintiffs do not specify what statements, reports, or representations Virtu allegedly made, when,

or how they were false when made. That lack of detail guts the misrepresentation claims.7

                   The complaint also fails to allege actionable omissions. See ¶¶ 383, 388. “[T]o

get past ‘go’ on a motion to dismiss, a plaintiff must first identify a statement made by

defendants, show how the omission rendered that statement misleading, and finally establish that

there was a duty to disclose the omitted information.” Santander, 35 F.4th at 34. Here, the

complaint does not pass “go” because it does not allege that Virtu said anything, let alone

anything from which material facts could have been omitted; and it fails to identify a duty that

Virtu had to disclose anything to AMC investors. (See Point III, below (showing that Virtu has

no fiduciary duty).) Confronted with similar allegations, courts dismiss omission claims. See

id.; Biogen, 2023 WL 2693793, at *6 (dismissing claims because the defendants were not alleged

to have publicly discussed the topic at all). The Court should do the same here.8

                   2.       Market Manipulation Claims

                   To plead a market manipulation claim under Sections 9(a)(2) and 10(b), a plaintiff

must plead facts “showing that an alleged manipulator engaged in market activity aimed at

deceiving investors as to how other market participants have valued a security.” ATSI, 493 F.3d




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            Plaintiffs also allege that Virtu “misrepresented” its “ability or intent to deliver the necessary securities by
the settlement date while engaging in naked short selling in violation of Rule 10b-21.” ¶ 295. The rule makes it
“unlawful for any person to submit an order to sell an equity security if such person deceives a broker-dealer,
participant of a registered clearing agency, or purchaser regarding its intention or ability to deliver the security on
the date delivery is due, and such person fails to deliver the security on or before the date delivery is due.” SEC,
“Naked” Short Selling Antifraud Rule, SEC Rel. 34-58774, 73 Fed. Reg. 61666-01, 61671, 2008 WL 4600724 (Oct.
17, 2008). Assuming a private right of action exists for violating the rule, the claim fails as a matter of law because
the complaint alleges no fact showing that Virtu placed any sell orders for AMC securities, let alone sell orders it did
not intend or was unable to deliver, and no fact showing that Virtu failed to deliver any sell orders it did place.
          8
            Plaintiffs also allege that Virtu manipulated the market for AMC securities by “making false
representations about market supply and demand” (¶ 304) and failing to “disclose vital information” about trading
on its dark pools. ¶¶ 304, 388. To successfully plead that claim, Plaintiffs must at least allege what Virtu
supposedly said or did not say. See Xu, 2023 WL 5509151, at *10 (dismissing claims because “[n]owhere does the
TAC cite to any material misrepresentations or omissions”). Plaintiffs do not do that.


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at 100. A plaintiff must plead those facts with specificity pursuant to Rule 9(b) because the

claims sound in fraud. That means a plaintiff must allege, “with particularity[,] the nature,

purpose, and effect of the fraudulent conduct and the roles of the defendants.” Id. at 102. “This

test will be satisfied if the complaint sets forth, to the extent possible, what manipulative acts

were performed, which defendants performed them, when the manipulative acts were performed,

and what effect the scheme had on the market for the securities at issue.” Id. A complaint fails

the test when “it offer[s] no specific allegations that defendants did anything to manipulates the

market” and “at best … relies on speculative inference.” Id. at 103. The complaint fails the test.

                   The naked short selling and FTD allegations (see pages 4-5, above) illustrate the

problem. The complaint fails to allege when Virtu engaged in naked short selling, the volume

and price of those unidentified trades, the number of FTDs that supposedly resulted, or how such

trades artificially impacted the price at which Plaintiffs supposedly traded.9 Instead, the

complaint moves directly from alleging that naked short selling can be manipulative, to asserting

(without support) that Virtu engaged in naked short selling, to concluding (again without

support) that Virtu did so to manipulate AMC securities prices. That is some distance to travel,

especially when Plaintiffs admit that Virtu’s trading strategies were “not illegal per se” (¶ 285),

and the SEC has said that FTDs “can occur for a variety of legitimate reasons.”10 Courts have

dismissed similarly thin manipulation claims. See ATSI, 493 F.3d at 103 (holding that the



          9
            The spoofing and dark pool allegations (see pages 5-6, above) suffer from the same defects. Plaintiffs
plead no fact showing that Virtu spoofed AMC securities, the date, price, or volume of the supposed spoofing, or
how the supposed spoofing impacted the price at which Plaintiffs supposedly traded. Likewise, Plaintiffs plead no
fact showing that Virtu traded AMC securities on any dark pool, let alone the date, price, or volume of the supposed
dark pool trades, or how any such trades artificially impacted the price at which Plaintiffs supposedly traded.
          10
             SEC, Division of Market Regulation: Responses to Frequently Asked Questions Concerning Regulation
SHO at Ques. 7.1 (mod. Oct. 15, 2015), available at http://www.sec.gov/divisions/marketreg/mrfaqregsho1204.htm.
As to spoofing, Plaintiffs similarly admit that “[o]rder cancellation itself is not illegal,” and that “[m]arket makers,”
like Virtu, “cancel orders for various legitimate reasons.” ¶ 410. Plaintiffs plead no fact showing that the
unparticularized spoofing was not, in fact, legitimate.


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“allegations fail to state even roughly how many shares the defendants sold, when they sold

them, and why those sales caused the precipitous drop in stock prices.”); Cohen, 722 F. Supp. 2d

at 426 (“Neither the Complaint nor Plaintiffs’ opposition identifies any dates on which any

[defendant] was involved in naked short sales.”); id. at 424 (“[A]llegations of failures to deliver,

without more, are insufficient to state a claim for market manipulation”).11

                   The LULD allegations (see pages 6-7, above) also fail the test. Even if the Court

were to overlook Plaintiffs’ admission that their allegations are speculative (see ¶¶ 284, 298, 302,

358-359, 389, 446, 499), the complaint alleges no specific conduct by Virtu, let alone when such

conduct supposedly occurred. Paragraph 344 is illustrative.12 It does not identify what influence

Virtu supposedly exerted over the LULD Committee, how or when Virtu exerted that

unidentified influence, or why the influence is unlawful. As for trading halts in AMC securities,

the complaint alleges no fact showing that any were improper or outside the bounds of the LULD

rule. It also alleges no fact connecting Virtu to alleged, yet unidentified, quid pro quo payments

to halt trading, let alone identify any particular payment by anyone for any particular halt. The

lack of detail is fatal. See Cohen, 722 F.2d at 422 (dismissing claims based on alleged bribery of

a journalist because the complaint “is silent concerning the amount of the alleged bribe, when it

was supposedly made, or who was present at the time.”).

                  The short-and-distort allegations (see pages 7-8, above) fail the test too. The

complaint alleges that Virtu “conspired” and “have conduct [sic] a monetary exchange” with Fox


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            Plaintiffs claim that Virtu violated Regulation SHO (see 17 C.F.R. § 242.200 et seq.) “by failing to locate
and deliver shares in connection with short sales of AMC stock, resulting in ‘Failure to Deliver’ positions.” ¶ 500
(Count 6). Assuming a private right of action exists for Regulation SHO violations, Plaintiffs’ claims fail as a matter
of law because they do not sufficiently plead that Virtu sold short AMC stock or caused FTDs. The complaint also
acknowledges (see ¶ 316), but does not grapple with, the market maker’s exemption from the “locate” requirement.
See 17 C.F.R. § 242.203(b)(2)(iii). So even if Virtu sold short AMC securities, Plaintiffs plead no fact showing that
those trades were not exempted bona fide market making activities. Plaintiffs plead no Regulation SHO claim.
         12
            “The influence exerted by Citadel, Virtu, and Goldman Sachs and Citigroup over the LULD Committee
to benefit their short positions could represent a conflict with the Committee’s purpose of investor protection.”


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Business News to run stories designed to depress the price of AMC securities. ¶ 439. But it

pleads no fact supporting any supposed conspiracy, such as when or how it was formed and how

it was carried out, or who paid how much to whom, when, and for which Fox Business News

stories. Courts routinely reject similarly unspecific conspiracy allegations. See Cohen, 722 F.2d

at 422. Exhibit Z does not salvage Plaintiffs’ short-and-distort allegations. The sole Virtu

connection among the exhibit’s 25 pages of tweet screen-shots and graphics is a tweet exchange

between a Fox Business News anchor and Virtu’s CEO, the substance of which is that they

enjoyed seeing one another – among other unidentified people – over drinks and pizza at a

Brooklyn restaurant one night in June 2023. See Ex. Z at 24-25. That hardly shows a “close

personal association”

(¶ 443), let alone pleads facts showing that Virtu paid anyone for any coverage of any security at

any time or divulged material non-public information that, when disclosed, impacted AMC

securities or Plaintiffs’ alleged AMC investments.

               In sum, Plaintiffs have not “particularly allege[d] what [Virtu] did – beyond

simply mentioning common types of manipulative activity;” and they have not “state[d] how this

activity affected the market in [AMC] stock.” ATSI, 493 F.3d at 104.

       D.      Plaintiffs Fail to Sufficiently Plead that Virtu Acted with Scienter

               To plead a Section 9(a)(2) or Section 10(b) claim, a plaintiff must allege that a

defendant acted with scienter, meaning “intentional or willful conduct designed to deceive or

defraud investors” or “a high degree of recklessness.” Metzler Asset Mgmt GMbH v. Kingsley,

928 F.3d 151, 158 (1st Cir. 2019). Scienter allegations must satisfy the PSLRA’s “[e]xacting”

standards. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 313 (2007). That means

a plaintiff must “state with particularity facts giving rise to a strong inference that the

defendant acted with” scienter. Metzler, 928 F.3d at 158 (emphasis in original) (quoting 15


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U.S.C. § 78u-4(b)(2)). A strong inference is one that is “more than merely plausible or

reasonable – it must be cogent and at least as compelling as any opposing inference of

nonfraudulent intent.” Tellabs, 551 U.S. at 314; accord id. at 324. A complaint that fails to

plead facts raising a “strong inference” of scienter “shall” be dismissed. 15 U.S.C.

§ 78u-4(b)(3)(A). Here, the complaint fails to allege facts raising any – let alone the required

“strong” – inference that Virtu intended to deceive anyone about AMC and AMC securities.

                  Plaintiffs’ core contention is that Defendants, including Virtu, were short AMC

common stock and engaged in manipulative acts to avoid a short squeeze. (See pages 3-4,

above.) But the complaint fails to allege any fact showing that Virtu was ever short AMC

securities at any time, thus gutting Plaintiffs’ insinuation that Virtu was motivated to manipulate

to avoid losing money. Plaintiffs offer nothing beyond the short squeeze allegations but

threadbare, conclusory assertions of alleged wrongful intent.13 Those assertions fail to satisfy

Rule 8, let alone the PSLRA’s exacting standards. See Ashcroft v. Iqbal, 556 U.S. 662, 681

(2009) (“[B]are assertions … amount[ing] to nothing more than a formulaic recitation of the

elements are insufficient to withstand dismissal.”).

                  Even if Virtu had engaged in naked short selling, cancelled orders, or traded on

dark pools, the complaint still fatally fails to allege facts showing that Virtu did so to

manipulate AMC securities prices to harm AMC investors. Indeed, Plaintiffs concede that the

alleged acts can be benign and lawful, particularly when conducted by market makers like


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            See, e.g., ¶¶ 303 (“The persistent pattern of [Virtu’s and others’] trading activities, characterized by the
systematic failure to deliver, sends a clear signal of intent to manipulate the market.”); 374 (“Virtu … intentionally
manipulated the price of AMC stock through dark pools. This indicates a clear intention to deceive or manipulate,
which violates federal law.”); 473 (“all these manipulative acts were done with scienter … aiming to deceive or
defraud investors through their actions that artificially influenced the [AMC securities’] prices”); 489 (“[T]he
defendants acted with scienter, meaning they had the intent to deceive, manipulate, or defraud investors by engaging
in practices that resulted in the artificial deflation of the stock prices of AMC and APE.”); 505 (“[The Defendants]
knowingly and intentionally engaged in deceptive and manipulative practices that directly influenced the … the
[AMC securities] prices.”); 507 (“Defendants acted knowingly or with reckless disregard for the truth.”).


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Virtu. See ¶¶ 285, 289, 410. Thus, the complaint fails not only to raise any – let alone the

requisite “strong” – inference that Virtu had scienter, it also fails to raise an inference that is

cogent and at least as compelling as any opposing inference of nonfraudulent intent.14

II.      The 1933 Act Claims Fail as a Matter of Law

                  The complaint perhaps suggests that Virtu violated Section 5(c) by selling

unregistered securities. See ¶ 510. But no private right of action exists under Section 5(c).

The remedy for a buyer of unregistered securities is an action under Section 12(a)(1), 15 U.S.C.

§ 77l(a)(1) (see Risley v. Universal Navigation, Inc., --- F. Supp. 3d ---, 2023 WL 5609200, at

*15 (S.D.N.Y. Aug. 29, 2023)), a section the complaint does not reference. In any event, claims

against Virtu for the sale of unregistered securities fail as a matter of law.

                  The essence of a Section 12(a)(1) claim is the purchase of an unregistered

security. Section 12(a)(1) provides that “[a]ny person who ... offers or sells a security in

violation of [Section 5] ... shall be liable ... to the person purchasing such security from him.”

Consequently, “a prospective buyer has no recourse against a person who touts unregistered

securities to him if he does not purchase the securities.” Pinter v. Dahl, 486 U.S. 622, 644

(1988). Even when one buys unregistered securities, the Section 12(a)(1) claim is viable only

against the statutory seller – that is, the person who transferred title to the buyer or successfully

solicited the buyer’s purchase of the securities. See Risley, 2023 WL 5609200, at *15.

A complaint that does not plead the purchase and statutory seller elements fails as a matter of

law to state a Section 12(a)(1) claim. See Risley, 2023 WL 560920, at *15 (dismissing claims

because the complaint failed to allege a successful solicitation); Forsberg v. Always Consulting,

Inc., No. 06-cv-13488, 2008 WL 5449003, at *12 (S.D.N.Y. Dec. 31, 2008) (dismissing claims;


         14
            To the extent Plaintiffs allege that Virtu aided and abetted supposed 1934 Act violations (see ¶ 493), no
private right of action exists. See Cent. Bank of Denver v. First Interstate Bank, 511 U.S. 164, 175-177 (1994).


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adopting the magistrate judge’s finding that the plaintiff failed to allege that the defendants

improperly offered or sold a security to him). Here, the complaint pleads neither element.

                  Plaintiffs never allege that they bought unregistered securities from Virtu or

anyone else. They simply allege that unregistered Brazilian Depository Receipts and “APEs”

were offered. See ¶¶ 506, 508. Plaintiffs cannot cure this pleading defect because Virtu is a

market maker that neither sells nor solicits sales to retail investors like Plaintiffs. Therefore,

the Court should dismiss the Section 1933 Act claims against Virtu.15

III.     The Fiduciary Duty Claims Fail as a Matter of Law

                  Plaintiffs allege that Virtu (or “Defendants”) breached fiduciary duties.

See ¶¶ 342-343, 347, 351, 484, 488-489, 505. To plead a fiduciary duty claim, a plaintiff must

allege “(1) existence of a fiduciary duty; (2) breach of that duty; (3) damages; and (4) a causal

relationship between the breach and the damages.” Taylor v. Moscow, No. 13-cv-12675, 2014

WL 2573990, at *5 (D. Mass. June 6, 2014) (Saylor, J.) (dismissing fiduciary duty claims).

Here, the claims founder on at least the first element.

                  A fiduciary duty arises from a relationship of trust and confidence, when one

party reposes trust and confidence in another party who knowingly accepts it. See Colella v.

Children’s Hosp. Corp., No. 14-cv-11687, 2014 WL 12581775, at *5 (D. Mass. Nov. 4, 2014)

(dismissing claims).16 Fiduciary duty claims fail as a matter of law when a plaintiff does not


          15
             Plaintiffs allege that “Defendants,” not Virtu specifically, violated Section 17(a). See ¶¶ 269, 405.
No private right of action exists for violating that section. See Moldonado v. Dominguez, 137 F.3d 1, 7-8 (1st Cir.
1998).
          16
             A court need not conduct a choice of law analysis when the laws of the states the could supply the
controlling law yield the same result. See Fratus v. Repub. W. Ins. Co., 147 F.3d 25, 28 (1st Cir. 1998). That is the
case here. The substantive fiduciary duty law of Massachusetts and Michigan (Plaintiffs’ home states (see ¶¶ 27-
28)) and Delaware and New York (where Virtu is incorporated and has its principal place of business (see ¶ 38)) is
the same. See UBS Fin. Servs., Inc. v. Aliberti, 133 N.E.3d 277, 288 n.12 (Mass. 2019) (holding that the Court
“discern[s] no relevant difference between the fiduciary duty law of New York and Massachusetts”); Coyer v. HSBC
Mortg. Servs., Inc., 701 F.3d 1104, 1108 (6th Cir. 2012) (holding under Michigan law that “a fiduciary relationship
arises from the reposing of faith, confidence, and trust and the reliance of one on the judgment and advice of


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plead facts showing that it reposed trust and confidence that the defendant accepted. See id.

Here, Plaintiffs do not plead those facts. Nor could they, given that market makers like Virtu do

not serve retail investors.

                  Plaintiffs also allege that Virtu violated Section 206 of the Investment Advisers

Act of 1940 and Regulation Best Interest. See ¶¶ 343, 353. But neither provision supports a

private right of action. See Transam. Mortg. Advisers, Inc. v. Lewis, 444 U.S. 11, 19-24 (1979)

(Section 206); Brooks v. Black, No. 85-cv-4505, 1986 WL 2705, at *2 (D. Mass. Jan. 14, 1986)

(same); Reg. Best Interest, Exch. Act Rel. No. 34-86031, 84 Fed. Reg. 33318, at 33327 (June 5,

2019) (stating “we do not believe Regulation Best Interest creates any new private right of action

or right of rescission, nor do we intend such a result.”). In any event, Plaintiffs acknowledge that

Section 206 and Regulation BI concern a client’s relationship with its investment advisor or

broker-dealer. See ¶¶ 343 nn.185, 186; 351. But Plaintiffs do not – and cannot – allege that they

were Virtu’s clients.17

IV.      The Remaining Claims against Virtu Fail as a Matter of Law

                  Plaintiffs’ claims for alleged antitrust, RICO, Title 18, and FINRA rule violations

fail as a matter of law for the reasons set forth in Points II.A, B, D and F of the Citadel Brief.18




another.”); Metro Ambulance, Inc. v. E. Med. Billing, Inc., Civ. A. No. 13929, 1995 WL 409015, at *2 (Del. Ch. July
5, 1995) (same, under Delaware law).
         17
            Plaintiffs’ claims are not saved by their assertion that Virtu is a Self-Regulatory Organization that
“owe[s] the Plaintiffs fiduciary duty [sic] of maintaining a fair and orderly marketplace for all participants.” ¶ 484.
Even if Virtu were an SRO, SROs are immune from common law liability. See Citadel Brief, Point II.C. In any
event, Virtu is not an SRO. An SRO is “any national securities exchange, registered securities association, or
registered clearing agency, or … the Municipal Securities Rulemaking Board.” 15 U.S.C. § 78c(26). Virtu is not,
and is not alleged to be, any of those. Because Virtu is not an SRO, it has no duty “to monitor and report under” 15
U.S.C. §§ 78s(b)-(c), 78f(b), contrary to Plaintiffs’ claim. See ¶ 484.
         18
            The complaint also fails to satisfy basic pleading requirements, as set forth in Point I of the Citadel Brief.


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                                           Conclusion

               For the foregoing reasons, the Court should dismiss the complaint against Virtu

entirely and with prejudice. The Court also should award Virtu such other and further relief as

just and proper.

Dated: January 9, 2024                       Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

                 I hereby certify that on January 9, 2024, this memorandum of law was filed
with the Court through the CM/ECF system, which will send notification of this filing to all
registered participants as identified on the Notice of Electronic Filing. A copy of the
memorandum of law as filed will be served January 9, 2024 via electronic mail on the pro se
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